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Exhibit B
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Instructions for Jury Questionnaire

This questionnaire is designed to obtain information about your background as it relates
to your service as a juror in this case. We are using it to shorten the jury selection process. The
purpose of these questions is to determine whether prospective jurors can decide this case fairly,
based solely on the evidence presented at trial and the instructions on the law given by the judge.
The parties and the Court have agreed that all information contained in this questionnaire will be
kept confidential; to the extent the Court is ever required to release any responses in the
questionnaires, your name will not be publicly released.

Please write your assigned juror number at the top of each page. Respond to each
question. Your candor and honesty are necessary so that both the prosecution and the defense

will have a meaningful opportunity to select an impartial jury. Your cooperation is of vital
importance,

You are sworn to give true and complete answers, and those answers will be available
only to the Court and the parties in this case.

From this day forward, until you have been formally excused from service, you are
instructed not to communicate in person, in writing, or electronically about this case or the
questionnaire with anyone, including your family and fellow jurors. Also, you should not go

online or look at any source to learn more about the charges, the defendant, or any participant in
the case.

Please fill out the entire questionnaire. Do not leave any questions blank. If a question
does not apply to you in any way, write “N/A” rather than leaving the form blank.

PLEASE PRINT LEGIBLY - PLEASE USE ONLY BLACK OR BLUE INK
(NO PENCILS)
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JUROR NUMBER:

JURY QUESTIONNAIRE

IN COMPLETING THIS QUESTIONNAIRE, PLEASE USE THE SPACE PROVIDED
AFTER EACH QUESTION. IF YOU NEED MORE SPACE, PLEASE USE THE PAGES

PROVIDED AT THE END OF THE QUESTIONNAIRE, INDICATING THE NUMBER
OF THE APPLICABLE QUESTION.

1. a. Are you able to read, write and understand the English language?

Yes ss With Difficulty _ No

b. Are you able to complete this questionnaire without another person’s assistance?

IF YOUR ANSWER TO EITHER QUESTION 1(a) or 1(b) IS “NO,” PLEASE SIGN THE

LAST PAGE OF THE QUESTIONNAIRE AND RETURN IT WITHOUT ANSWERING
ANY OTHER QUESTIONS.

BACKGROUND INFORMATION

2. Please provide the following personal information:

Age:

Gender:

3. What is your marital status? (Check all that apply.)

Single and never married

Married

Separated or divorced

Divorced and remarried

Living with significant other or domestic partner
Widow or Widower
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JUROR NUMBER:

EDUCATION AND EMPLOYMENT

Education

4, Check the highest level of education for you and your spouse or significant other:

You Spouse/Significant Other

Grade school or less

Some high school

High schoo! graduate
Technical or business school
Some college

College degree

memo ae o BP

Graduate degree (and describe area) Area:

Employment

Are you employed?

Yes No

6. a. Ifemployed, what is your current occupation / job title?

b. Name of employer:

c. How long have you been employed at your current job?

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JUROR NUMBER:

7.

10.

11.

If you are unemployed, please describe any other responsibilities you may have
(childcare, school, etc.).

If you are retired or between jobs, what type of work had you been doing?

If you live with a spouse or significant other, is that person employed?

Yes No

If employed, what is his or her current occupation / job title?

Name of the employer:

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12.

13.

14,

If you are a student now, please describe briefly your area of study:

Have you or a close friend or family member ever worked in any aspect of the legal field,

as a lawyer, prosecutor, criminal defense attorney, legal secretary, paralegal, court
reporter, investigator, law clerk, judge, etc.?

Yes No

If yes, please explain:

Have you or a close friend or family member ever applied for employment with, was

employed by, or received training by any local, state, or federal law enforcement agency,
including any of the following:

1) Department of Justice (DOJ)

2) Federal Bureau of Investigation (FBI)

3) USS. Attorney’s Office

4) Bureau of Alcohol, Tobacco, Firearms
5) Internal Revenue Service (IRS)

6) Department of Homeland Security (DHS)
7) U.S. Marshal’s Service

8) U.S. Immigrations & Customs

9) US. State Department

10) U.S. Bureau of Prisons (BOP)

11) Central Intelligence Agency (CIA)

12) Defense Intelligence Agency (DIA)

13) National Security Agency (NSA)

14) National Geospatial Intelligence Agency
15) U.S. Secret Service

16) Transportation Security Administration
17) Federal, state or local prison or jail

18) Federal, state or local courthouse

19) Federal, state or local prosecutor’s office
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If yes to any of the above, please identify the person involved and the agency, and state
the approximate dates of the employment or training, and the position or involvement:

15. Do you have any opinions or beliefs concerning law enforcement organizations in
general, including the Federal Bureau of Investigation (FBI) or the Department of Justice,
or the Special Counsel’s Office within the Department of Justice, that would affect your
ability to evaluate the evidence fairly and impartially?

Yes No

If yes, please explain:

16. In this case, the United States is represented by the U.S. Attorney’s Office for the District
of Columbia. The investigation that led to the charges in this case was conducted by
Special Counsel Robert S. Mueller, III. The U.S. Attorney’s Office is, and the Special
Counsel’s Office was, a part of the U.S. Department of Justice. Is there anything about the
fact that the Special Counsel’s Office, the U.S. Attorney’s Office, or the Justice
Department is or was involved in this case that affect your ability to be fair and impartial

in this case and base your decision solely on the evidence presented and the Court’s
instructions on the law?

Yes No

If yes, please explain:

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JUROR NUMBER:

17. Check to indicate whether you or your spouse (significant other, domestic partner) has

taken any courses, received any training, or sought or obtained employment, in any of
these fields:

You Spouse

Security/Intelligence

International Relations

Journalism/Media/Communications

For any item checked, please describe the training or employment:

ORGANIZATIONAL AFFILIATIONS AND ACTIVITIES

18. Are you currently, or have you ever been, a member or regular participant in any civic,

social, union, professional, business, fraternal, recreational or other community group or
charitable organizations?

If yes, please list the names of those groups or organizations, your role and how long a

member:

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JUROR NUMBER:

PRIOR JURY SERVICE

19. Have you ever served on a grand jury or jury in a trial within the past 10 years?

Yes No

If yes, how many times have you served as a juror in a trial?
If yes, have you ever served as a foreperson?
If yes, how many times?

If yes, for each trial jury service, please indicate:

Federal Civil or Charge or Verdict
Year or State Criminal Type of Case Reached
Yes No
Yes No
Yes No
Yes No

If you served as a grand juror, how many times did you serve as a grand juror?

20. If you served as a juror, is there anything about your previous experience as a juror that
would affect your ability to serve as a juror in this case?

Yes No

If yes, please explain:

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JUROR NUMBER:

NEWS AND SOCIAL MEDIA

21. — If you follow local or national news, what are your primary sources for local and national
news and information? (Check all that apply)

I do not follow local or national news

Newspapers (including online) TV/cable Blogs/websites
Social Media Radio News magazines
Word of mouth/conversations _ Other sources (specify)

Please identify by names your primary sources of news and information:

22. Do you listen to political commentators on TV or talk radio?

Yes No

If yes, please list the commentators you listen to:

23. Have you written or posted anything for public consumption about the defendant, the
House Permanent Select Committee on Intelligence investigation into Russian

interference in the 2016 presidential election, or the investigation conducted by Special
Counsel Robert Mueller?

[For purposes of this question, writing “for public consumption” includes blog posts,
articles, or posts on internet sites that are accessible to the general public. ]

Yes No

If yes, please describe when and where you did so and the subject of your comments:

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24. Have you or any close friend or family member ever run for or held a political office in
the federal, state, or local government?

Yes No

If yes, would anything about that person’s running for or holding political office cause
you to form an opinion about the defendant’s guilt or innocence in this case or affect
your ability to be fair to both sides?

Yes No

If yes, please explain:

25. | How closely have you followed media reports relating to investigations into Russian
interference in the 2016 election?

Very Closely Somewhat Closely Not too closely Not at all

26. To assure that the decision of jury in this case is not based upon influences outside the
courtroom, the Court has instructed you that you must avoid reading about the case in the
newspapers or listening to any radio or television reports concerning this case including
news coverage or communications on the internet or social media. And, you may not
discuss or communicate about this case with your family, friends or co-workers or
anyone else including on the internet or social media. Also, until you retire to deliberate,
you may not communicate about this case with your fellow jurors. If you are selected as

a juror and this instruction continues until the end of the trial, you be able to follow these
instructions?

Yes No

If no, please explain:

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KNOWLEDGE OF TRIAL PARTICIPANTS OR THE CASE

This case arises out of events that occurred in 2016-2018, including the testimony of Roger
Stone before the House Permanent Select Intelligence Committee (HPSCI) on September 26,
2017. There is nothing wrong with having heard or read something about this case, but it is
important to this process that you truthfully and fully answer the following questions concerning
your knowledge about the case and trial participants, if any.

27. Have you read or heard anything about the defendant Roger Stone, about any statements
made by or attributed to Mr. Stone, or about this case? If so, please describe what you
have read or heard and the source of the information.

28. Do you or anyone close to you have any connections to any of the following individuals?
If so, you please explain below:

The Court

United States District Judge Amy Berman Jackson Yes No

Assistant United States Attorneys

Adam Jed Yess No_
Jonathan Kravis Yes No__-
Michael Marando Yess No___
Aaron Zelinsky Yes No

Counsel for the Defendant

Robert Buschel Yess No___

Tara Campion Yes No__

Bruce Rogow Yes = No__-

Chandler Routman Yess No___

Grant Smith Yes ss No__
The Defendant

Roger Stone Yes No

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If yes, please explain:

29. These are the names of people who may be witnesses in the case or who may be
discussed during the trial.

1) Julian Assange 17) David Lugo

2) Jason Aubin 18) Theodore Malloch
3) Steve Bannon 19) Paul Manafort

4) William Binney 20) Rebekah Mercer
5) Zachary Blevins 21) Andrew Miller
6) Matthew Boyle 22) Tyler Nixon

7) Michael Caputo 23) Sam Nunberg

8) Peter Clay 24) John Podesta

9) Hillary Clinton 25) Alexandra Preate
10) Jerome Corsi 26) Erik Prince

11) Randy Credico 27) Bill Samuels

12) Richard Gates 28) Michael Strum
13) Jason Fishbein 29) Jason Sullivan
14) David Gray 30) Michelle Taylor
15) John Kakanis 31) Donald Trump
16) Margaret Kunstler

If you know any of those individuals personally, please identify which ones and explain
how you know them.

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30. Please indicate if you already have an opinion about any of those individuals, or if the

fact that they may be involved in the case would make it difficult for you to be fair and
impartial to both sides?

31. | Have you or a close friend or family member ever been employed or had any association
or connection with Congress or a congressional committee?

Yes No

If yes, please explain the employment, association or connection:

32. Did you work or volunteer for any 2016 presidential campaign?

Yes No

33. Have you or any close friend or family member participated in, or had any connection
with any government agency, group, organization, committee or subcommittee, public or
private group or organization, including any media group or organization that participated

in, any investigation or inquiry into the circumstances surrounding Russian interference
in the 2016 presidential election?

Yes No

If yes, please explain:

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JUROR NUMBER:

34. | Have you formed or expressed any opinion about Mr. Stone, the charges in this case, or
about his guilt or innocence in this case?

35. Some of the witnesses in this case may be people who were involved in crimes
themselves. They would testify as part of a cooperation agreement with the
government, or as part of a guilty plea, or under an order from the Court giving them
immunity. Is there anything about that circumstance that will make it difficult for you to

evaluate their testimony fairly and impartially in accordance with the Court’s
instructions?

Yes No

If yes, please explain:

EXPERIENCE WITH THE COURTS AND CRIMINAL PROCESS

36. Within the past ten years, have you or a close friend or family member been the victim of
a crime, reported or not?

Yes No

37. If yes, for each incident please provide the following information: type of crime, who was
affected (you or the relationship of the person to you), when the crime occurred, whether
anyone was arrested, and if so, the outcome of the case:

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38. If yes, do you feel that the person was treated fairly by the government agency involved?

39. Within the past ten years, have you or a close friend or family member been a witness to
a crime?

Yes No

If yes, please explain:

40. Within the past ten years, have you or a close friend or family member been subpoenaed
to be a witness, or did you or they testify as a witness in any court proceeding, hearing, or
trial, including a criminal case?

If yes, please explain:

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41. | Within the past ten years, have you or a close friend or family member been arrested for,
charged with, prosecuted for, or convicted of any crime other than a traffic ticket?

Yes No

If yes, please explain who (in relation to you), when, and what happened:

If yes, do you feel that you or your friend or family member was treated fairly?

42. Within the past ten years, have you or a close friend or family member been the subject

of any other kind of law enforcement investigation or administrative enforcement
proceeding?

43. If yes, please describe the subject matter of the investigation, the government agency
involved, and the outcome.

44. Do you feel that you, your family member, or close friend was treated fairly by the
government agency involved?

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JUROR NUMBER:

45. Apart from jury service, have you ever been involved in any legal proceeding, in any
capacity, for example as a plaintiff, defendant, victim, lawyer, witness, or expert?

Yes No

46. If yes, please state when and explain why you appeared in court:

47. If yes, did the legal process in that instance operate fairly in your opinion?

CRIMINAL JUSTICE SYSTEM & LEGAL PRINCIPLES

48. The judge will instruct you that the charges in this case include: obstruction of an official
proceeding, making false statements, and witness tampering. Is there anything about the
nature of the charges alone that would affect your ability to be fair?

Yes No

49. Jurors are the sole judges of the facts. However, the jury must follow the principles of
law as instructed by the judge. The jury may not follow some rules of law and ignore
others. Even if the jury disagrees or dislikes the rules of law or does not understand the
reasons for some of the rules, it is their duty to follow them. Do you have any personal

beliefs that would make it difficult to follow the Court’s legal instructions, whatever they
may be?

Yes No

50. ‘If, during the course of jury deliberations, a fellow juror should suggest that you
disregard the law or the evidence and decide the case on other grounds, would you, as a
juror, be able to reject that suggestion and abide by your oath to this court to decide the

case solely on the evidence and law as the court has instructed you to do, without regard
to sympathy, bias or prejudice?

Yes No

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JUROR NUMBER:

51.

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53.

CONCLUDING QUESTIONS

Do you have any personal reason that makes you want to serve as a juror in this case, or
do you have any personal interest in the outcome of the case?

If yes, please explain:

Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
judgment of another person?

The trial in this case may last approximately two (2) weeks, and could run longer. The
typical trial day lasts from 9:30 a.m. to 4:30 or 5:00 p.m., with breaks in the morning and
afternoon and a lunch break for approximately an hour. Monday through Friday. If there
is any reason why you could not maintain that schedule, or you could not be present and
give the matter your full attention during the period beginning November 5, 2019, and
ending approximately November 20, 2019, please explain.

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54. Do you have any physical or medical condition, or are you taking any medication on a
regular basis that would make it unusually difficult for you to serve as a juror in this case
or to sit for the periods of time described in the previous question?

55. Do you have any difficulty hearing that is not corrected with a hearing aid or any
difficulty seeing that is not corrected by glasses or contact lenses?

56. Is there anything about this case, the issues, or the people involved in this case, or any
other reason that has not be been asked about in any other question, that leads you to

believe that you could not be completely fair to both the defendant, Roger Stone, and the
U.S. Government in this case?

Yes No

PLEASE GO ON TO THE NEXT PAGE

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JUROR NUMBER:

CERTIFICATION

By signing below, I hereby declare under penalty of perjury that all of the answers to the above
questions are true and correct to the best of my knowledge and belief. I have not discussed my

answers with others or received assistance in completing the questionnaire. I have answered all
of the above questions myself.

Signature Print your full name here Date

Juror Number

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